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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


 LORI PANARELLO,

                        Plaintiff,

                        v.                             Case No. 1:17-cv-02103 (TNM)

 DAVID L. BERNHARDT, in his official
 capacity as Secretary, United States
 Department of the Interior,

                        Defendant.


                                     MEMORANDUM OPINION

       Lori Panarello filed this employment discrimination-related lawsuit while another case

she brought against the same defendant alleging very similar claims was still pending in this

courthouse. That action was ultimately unsuccessful. Her case here meets the same fate.

       Panarello challenges her termination as a United States Park Police supervisor following

her guilty plea for driving while intoxicated (“DWI”), her third disciplinary infraction overall

and second involving alcohol. She sues the Secretary of the Department of Interior, who has

ultimate authority over the Park Police, under Title VII. She claims that the Park Police

discriminated against her on the basis of sex and sexual orientation and removed her in

retaliation for her other Title VII lawsuit, as well as another Title VII action she filed more than

fifteen years ago.

       The Secretary moves for summary judgment, citing the DWI as the reason for Panarello’s

removal. Panarello pursues several paths to show that her criminal conviction was not the actual

reason for her removal. But each path leads to the same dead end. The evidence, even when

viewed in the light most favorable to her, would not allow a reasonable jury to find that the Park
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Police intentionally discriminated or retaliated against her. The Court will therefore grant the

Secretary’s motion.

                                                 I.

       Panarello is a homosexual female who worked for the Park Police, achieving the rank of

lieutenant. See Compl. ¶¶ 9–10, ECF No. 1; Def.’s Mem. in Supp. Mot. Summ. J. (“Def.’s

Mem.”) Ex. A (“Panarello Dep. Tr.”) 13:4–5, ECF No. 33-4. 1

       The current case centers on Panarello’s 2015 guilty plea to a DWI. See Pl.’s Statement of

Genuine Issues of Fact (“Pl.’s Statement”) ¶ 31, ECF No. 35-8 (Redacted); Panarello Dep. Tr.

47:11–13; see also Pl.’s Resp. & Mem. in Opp’n Summ. J. (“Pl.’s Resp.”) Ex. 3 (“Panarello

Aff.”) ¶ 81, ECF No. 35-3 (Redacted). She had been driving back from a funeral when a deputy

sheriff pulled her over near her home in Virginia. See Panarello Dep. Tr. 18:17–19:7; Pl.’s

Statement ¶ 13. The deputy determined that Panarello had a blood alcohol content of .13.

Panarello Dep. Tr. 46:8–16. During the stop, the deputy sheriff discovered that Panarello was a

police officer. Id. 43:13–17. After Panarello appeared before a magistrate, the deputy allowed a

Park Police supervisor to drive Panarello home, rather than leaving her in the county jail to sober

up. Id. 54–55; Pl.’s Statement ¶¶ 28–29.




1
  Panarello failed to “submit a statement enumerating all material facts which [she] contends are
genuinely disputed and thus require trial,” as this Court requires. Standing Order ¶ 14(B)(i),
ECF No. 14. She instead objected to many of the Secretary’s proposed facts as “misleading,”
“incomplete,” or both. Pl.’s Statement of Genuine Issues of Fact, ECF No. 35-8 (Redacted).
Since the Court must construe the evidence in the light most favorable to Panarello, it relies on
the evidence that she provides whenever possible, and only resolves Panarello’s objections to the
Secretary’s proposed facts as necessary.

Unless a deposition transcript, page citations refer to the pagination generated by the Court’s
CM/ECF system. Page citations for deposition transcripts refer to the pagination of the
transcript.


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       The DWI was not Panarello’s first infraction. In 1996, Panarello was stopped for

speeding and “there was alcohol involved.” Panarello Dep. Tr. 63:22–64:2; see also Panarello

Aff. ¶ 29. 2 As in the 2015 stop, Panarello’s blood alcohol content registered at .13, well over the

legal limit. See Panarello Aff. ¶¶ 30–38. But the officer learned Panarello was a law

enforcement officer, and Panarello was not charged with a DWI, nor did she receive a ticket. See

id. ¶ 39; Panarello Dep. Tr. 64:19–21, 171:4–6. Instead, he called a tow truck because he did not

want Panarello driving her car home. Panarello Aff. ¶¶ 40–41. Before the tow truck arrived,

however, Panarello let a friend drive her car home. Id. ¶¶ 42–43. Learning that Panarello’s car

was not there when the tow truck arrived, the police officer notified the Park Police of the

incident. Id. ¶¶ 44, 47. The Park Police later suspended Panarello for three days, citing

“impairing the efficiency of the force.” Id. ¶¶ 48, 50–51; Panarello Dep. Tr. 170:19–21, 171:12–

17.

       Panarello was also involved in an incident near the Jefferson Memorial, which another

court in this District already recounted:

       [O]fficers under Panarello’s supervision stopped a vehicle approaching the
       Jefferson Memorial slightly before 3 a.m. on April 11, 2008, and ordered the
       occupants out of the vehicle. When searching the trunk of the car, one of the
       officers discovered a . . . dildo, and another officer removed it from the trunk and
       gave it to Panarello, who was at the scene of the stop. Panarello then placed it on
       top of the vehicle and called another officer to the scene to take pictures. The
       officer Panarello originally called was unable to attend, but he directed another
       officer to the scene in his place. At Panarello’s request, that officer then took
       pictures with his personal cell phone while another officer laugh[ed] about the
       device and engaged in distasteful shenanigans. The remaining officers at the scene
       simply looked on, embarrassed by [Panarello’s] actions to condone such behavior,
       particularly in the same vicinity of the . . . occupants of the vehicle the Park Police
       had stopped and searched.



2
  Panarello filed certain information and exhibits under seal. In reaching its decision, the Court
relies on public information whenever possible. Any information cited from a sealed exhibit
either need not be sealed or is generalized to maintain confidentiality.


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Panarello v. Zinke, 254 F. Supp. 3d 85, 91 (D.D.C. 2017), aff’d sub nom. Panarello v.

Bernhardt, 788 F. App’x 18 (D.C. Cir. 2019) (per curiam) (cleaned up). Panarello received a

fourteen-day suspension for this infraction. See Pl.’s Statement ¶ 73.

       After Panarello’s 2015 DWI, the Park Police investigated and ultimately proposed

removing her from the force. See id. ¶ 33; Panarello Dep. Tr. 17:19–21. It sent Panarello a

“Notice of Proposed Removal” (“Removal Notice”), signed by Captain Keith Rogers. See Def.’s

Mem. Ex. H, ECF No. 33-11. 3 The Removal Notice outlined the Park Police’s considerations

for removing Panarello, including the nature and seriousness of the offense and Panarello’s

supervisory position. See id. at 3–5. The Park Police also considered Panarello’s two prior

infractions because it used a progressive discipline system—more violations lead to more severe

penalties. Id. at 4; see Def.’s Mem. Ex. S (“Table of Penalties”) (reflecting increasing penalties

after first, second, and third offense), ECF No. 33-22; id. Ex. D (“Smith Dep. Tr.”) 65:18–66:4,

ECF No. 33-7 (describing decision based on progressive discipline). Panarello addressed her

proposed removal through an oral and written response. See Def.’s Mem. Ex. K, ECF No. 33-

14; Panarello Aff. ¶ 87.

     The Park Police sustained the recommendation to remove Panarello in a “Decision on

Proposed Removal” (“Removal Decision”), signed by Deputy Chief Scott Fear. See Pl.’s

Statement ¶ 51; Def.’s Mem. Ex. L, ECF No. 33-15. The Removal Decision identified the same



3
   Panarello moves to strike as hearsay various documents that the Park Police submits as
evidence. See, e.g., Pl.’s Statement ¶ 14 (seeking to strike DWI arrest report); id. ¶ 37 (seeking
to strike Removal Notice); id. ¶ 49 (seeking to strike Removal Decision). “A motion to strike is
considered an exceptional remedy and is generally disfavored, and the proponent of such a
motion must shoulder a formidable burden.” United States ex rel. K&R Ltd. P’ship v. Mass.
Hous. Fin. Agency, 456 F. Supp. 2d 46, 53 (D.D.C. 2006) (cleaned up). The Court will resolve
the requests to strike only for those documents on which it relies to reach a decision. Accord
Tsehaye v. William C. Smith & Co., 402 F. Supp. 2d 185, 195 n.3 (D.D.C. 2005) (declining to
strike evidence not necessary to the court’s disposition of the case).


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considerations as the Removal Notice for removing Panarello, such as the seriousness of a DWI,

Panarello’s position as a lieutenant, and that the DWI was Panarello’s third infraction. Id. at 3–5.

Fear noted that he was “unaware of any other employees who have been disciplined for the same

or similar offenses.” Id. at 4. But he continued that, in any event, Panarello’s “misconduct [was]

serious enough to warrant removal, irrespective of similar cases.” Id.

       Before the removal became effective, Panarello submitted her retirement paperwork.

Pl.’s Statement ¶ 63. A member of the Park Police’s human resources staff also offered

Panarello a “last chance agreement.” See Pl.’s Resp. Ex. 5 (“Payton-Williams Dep. Tr.”) 10, 85–

87, ECF No. 36-9 (Sealed). A last chance agreement holds a termination in abeyance for a

certain period until the employee complies with the conditions of the agreement. See id. 85:8–

20. Under the proposed agreement, Panarello had to drop an earlier equal employment

opportunity (“EEO”) complaint she had filed against the Park Police. Id. 87:2–8. Panarello

declined this offer. See Pl.’s Statement ¶ 62. She then retired and receives annuity benefits. See

Panarello Dep. Tr. 158:12–16.

                                         *       *       *

       Panarello has twice before sued the Secretary for alleged Title VII violations. In 1998,

Panarello and other female officers claimed that a sergeant “subjected them to gender

discrimination and sexual harassment on a continuing basis,” “imposed unwarranted discipline,”

“made unsubstantiated complaints against them,” and threatened retaliation for their complaints

about his behavior. See Compl. at 7, 9, Sabate v. Babbitt, No. 98-cv-929 (D.D.C. Apr. 14, 1998)

(“Sabate lawsuit”), ECF No. 1. The Park Police settled and agreed to promote Panarello to

sergeant, among other things. Stipulation, Sabate lawsuit, ECF No. 36.




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       More than a decade later, Panarello sued the Secretary again. See Panarello v. Zinke, 254

F. Supp. 3d 85 (D.D.C. 2017) (“Panarello I”). There, Panarello alleged several acts of

discrimination by the Park Police, including the failure to promote her to captain and assign her

to command positions, as well as her suspension for the Jefferson Memorial incident. Id. at 90–

93. She also claimed that a Park Police lieutenant retaliated against her for the Sabate lawsuit.

Id. at 90. Panarello relied in part on her proposed removal from the Park Police to support her

claims in Panarello I. Id. at 92–93.

       Panarello I did not survive summary judgment. As relevant here, Judge Moss

determined that Panarello’s evidence—including her proposed removal—was “too thin.” Id. at

106. 4 The lieutenant at the center of Panarello’s retaliation claim had retired before her

nonselection to captain-level and command positions, as well as her proposed removal. Id. at

106–08. Addressing Panarello’s proposed removal, Judge Moss explained that, “[o]nce again,

Panarello points to no evidence that sex discrimination motivated the Park Police’s action,” and

that she “fails to offer any evidence that the proposed termination was part of a pattern of

retaliation against her.” Id. at 107. Judge Moss found “no basis in the record from which a

reasonable jury could find that the proposed termination was part of a pattern of retaliation that

would not have occurred but for Panarello’s EEO activity between 1993 and 2000.” Id.

       The D.C. Circuit affirmed. See Panarello v. Bernhardt, 788 F. App’x 18 (D.C Cir. 2019)

(per curiam) (“Panarello II”). It held that “no reasonable jury could find that the Park Police

subjected Panarello to disparate discipline in retaliation for her EEO activity.” Id. at 19. And

that Panarello “present[ed] no evidence sufficient to create a triable factual dispute over the



4
  The court also found that Panarello failed to exhaust her administrative remedies as to certain
claims, including her allegations of a hostile work environment. See Panarello I, 254 F. Supp.
3d at 95–103.


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agency’s non-discriminatory reason” in imposing the fourteen-day suspension “for failing to

prevent, and even participating in, admittedly juvenile and unprofessional acts in the presence of

members of the public.” Id. “Panarello’s allegations rest[ed] on a theory of retaliation without

evidentiary support.” Id. at 20.

                                          *       *       *

       Shortly after Panarello I and while Panarello II was still pending, Panarello sued the

Secretary for sex and sexual orientation discrimination and retaliation under Title VII, 42 U.S.C.

§ 2000e et seq. 5 See Compl. ¶¶ 51–54. She claims her removal for the DWI was harsher than

the discipline her male, heterosexual colleagues received for alcohol-related offenses. Id. ¶¶ 42–

45. And that the removal was retaliation for Panarello I and the Sabate lawsuit. Id. ¶¶ 27–31.

Panarello also alleges that her treatment “constituted a discriminatory, hostile work environment

for [her] in violation of her rights under federal law.” Id. ¶ 18.

       The Secretary moves for summary judgment. His main contention is that the DWI was

the reason for Panarello’s removal and that Panarello cannot identify sufficient facts to show

otherwise. See Def.’s Mem. at 23–40. This motion is ripe for disposition. 6 Pl.’s Resp.; Def.’s

Reply in Supp. Mot. for Summ. J. (“Def.’s Reply”), ECF No. 40.




5
  Although Panarello captions her discrimination claim as “sex-based” in her complaint, she also
refers to her sexual orientation and alleges disparate treatment from her “heterosexual male
colleagues.” Compl. ¶¶ 9, 42, 51–52. The Court thus construes Panarello to be pursuing
discrimination based on sex and sexual orientation. See Bostock v. Clayton Cnty., 140 S. Ct.
1731 (2020).
6
  The Court has jurisdiction under Title VII’s jurisdictional provision, 42 U.S.C. § 2000e–
5(f)(3), and the federal question statute, 28 U.S.C. § 1331. See Arbaugh v. Y & H Corp., 546
U.S. 500, 503 (2006).


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                                                  II.

       A party seeking summary judgment must show that “there is no genuine dispute as to any

material fact and the movant is entitled to judgment as a matter of law.” Fed. R. Civ. P. 56(a). A

“material” fact is one that could alter the outcome of the suit based on the substantive law that

governs. Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986). And a dispute over that

material fact is “genuine” “if the evidence is such that a reasonable jury could return a verdict for

the nonmoving party.” Id.

       The moving party “always bears the initial responsibility of informing the district court of

the basis for its motion, and identifying those portions of the pleadings, depositions, answers to

interrogatories, and admissions on file, together with the affidavits, if any, which it believes

demonstrate the absence of a genuine issue of material fact.” Celotex Corp. v. Catrett, 477 U.S.

317, 323 (1986) (cleaned up). The non-moving party then must set forth “specific facts showing

that there is a genuine issue for trial.” Anderson, 477 U.S. at 250 (cleaned up). “The mere

existence of a scintilla of evidence in support of the plaintiff’s position will be insufficient; there

must be evidence on which the jury could reasonably find for the plaintiff.” Id. at 252.

       In construing a motion for summary judgment, the court must “view the facts and draw

reasonable inferences in the light most favorable to the party opposing the summary judgment

motion.” Scott v. Harris, 550 U.S. 372, 378 (2007) (cleaned up).

                                                  III.

       Title VII contains anti-discrimination and anti-retaliation provisions. As relevant here,

the statute bars an employer from terminating or discriminating against an individual on the basis

of sex, see 42 U.S.C. § 2000e–2(a)(1), or from discriminating against an employee “because he




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has opposed any practice made an unlawful employment practice by this subchapter, or because

he has made a charge . . . under this subchapter,” id. § 2000e–3(a).

       “Discrimination and retaliation claims are subject to the familiar, burden-shifting

framework of McDonnell Douglas Corp. v. Green, 411 U.S. 792 (1973).” Walker v. Johnson,

798 F.3d 1085, 1091 (D.C. Cir. 2015). Under this framework, a plaintiff first must establish a

prima facie case. For discrimination claims, the plaintiff must show: “she is part of a protected

class under Title VII, she suffered a cognizable adverse employment action, and the action gives

rise to an inference of discrimination.” Id. A plaintiff pursuing a retaliation claim similarly must

show: “she engaged in activity protected by Title VII, the employer took adverse action against

her, and the employer took that action because of the employee’s protected conduct.” Id. at

1091–92. The burden then shifts to the employer to identify a “legitimate, non-discriminatory or

non-retaliatory reason on which it relied in taking the complained-of action.” Id. at 1092.

       Once the employer provides such a reason, the “court need not—and should not—decide

whether the plaintiff actually made out a prima facie case under McDonnell Douglas.” Brady v.

Off. of Sergeant at Arms, 520 F.3d 490, 494 (D.C. Cir. 2008) (emphasis in original). Instead,

“the central question at summary judgment becomes whether the employee produced sufficient

evidence for a reasonable jury to find that the employer’s asserted nondiscriminatory or non-

retaliatory reason was not the actual reason and that the employer intentionally discriminated or

retaliated against the employee.” Walker, 798 F.3d at 1092 (cleaned up).

       Courts do not sit as a “super-personnel department.” Barbour v. Browner, 181 F.3d

1342, 1346 (D.C. Cir. 1999) (cleaned up). They cannot “second-guess an employer’s personnel

decision absent demonstrably discriminatory motive.” Fischbach v. D.C. Dep’t of Corrs., 86

F.3d 1180, 1183 (D.C.Cir.1996) (cleaned up). “The ultimate burden of persuading the trier of




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fact that the defendant intentionally discriminated against the plaintiff remains at all times with

the plaintiff.” Tex. Dep’t of Cmty. Affs. v. Burdine, 450 U.S. 248, 253 (1981).

                                                 A.

       The Park Police identifies the DWI as the reason for Panarello’s removal. See Def.’s

Mem. at 23–25. It considered the DWI to be a “very serious” offense that went “to the heart of

[Panarello’s] responsibility as a [Park Police] officer and manager.” Removal Notice at 3; see

Removal Decision at 3 (describing the DWI as “extremely serious”). 7 To the Park Police, the

DWI had a “direct relation to [Panarello’s] duties” because she was “entrusted with the

enforcement of laws prohibiting drinking and driving.” Removal Decision at 3.

       Panarello’s role as a supervisor was also a “highly aggravating factor.” Removal Notice

at 3. The Park Police noted that Panarello was “held to a higher standard of conduct” as a

lieutenant and was “responsible for setting an example for subordinate officers to follow.” Id.;

see also id. (explaining that Panarello was “required to make significant decisions and represent

the Chief of Police as the highest ranking official during [her] work shift”). The Park Police




7
  Panarello moves to strike the statements in the Removal Notice and Removal Decision as
inadmissible hearsay. See Pl.’s Statement ¶¶ 37, 49. The Court denies that request. “In
employment discrimination cases, internal documents relied upon by the employer in making an
employment decision are not hearsay . . . . Rather such documents are relevant and admissible
[as business records] because they help explain (or may help explain) the employer’s conduct.”
Wolff v. Brown, 128 F.3d 682, 685 (8th Cir. 1997). In McKenna v. Weinberger, the D.C. Circuit
found that the testimony of plaintiff’s supervisors discussing co-workers’ complaints about the
plaintiff was not hearsay because “[s]uch testimony was offered to illuminate their motives and
actions as supervisors, not to prove that the co-workers had valid complaints.” 729 F.2d 783,
792 (D.C. Cir. 1984); cf. Desmond v. Mukasey, 530 F.3d 944, 965 (D.C. Cir. 2008) (affirming
decision to admit report “chronicling” plaintiff’s “alleged failures, infractions, and indiscretions”
in Title VII retaliation case because the report shows “what information [the charging official]
had before him when he made his initial decision regarding [plaintiff]”). Here, the Removal
Decision and Removal Notice are business records that help illuminate the Park Police’s
proffered reasons for removing Panarello. They are thus admissible evidence to consider at the
summary judgment stage.


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highlighted the same in the Removal Decision. It stated that as a “managerial police officer,”

Panarello was “responsible for providing guidance, advice, and assistance to subordinate officers

when they encounter situations similar to [her] instance of misconduct.” Removal Decision at 3.

       The Park Police also cited Panarello’s two prior infractions—the three-day suspension

“for an alcohol-related charge of Conduct” and the fourteen-day suspension for the Jefferson

Memorial incident. 8 Removal Notice at 4; see also Removal Decision at 3. There was a

“significant concern” that the DWI was not Panarello’s first instance of “alcohol-related

misconduct.” Removal Decision at 3. As Deputy Chief Fear put it to Panarello, “[b]y involving

yourself in this type of behavior again, I do not believe that you warrant another opportunity to

continue in your career as a manager police officer.” Id.

       Finally, the Park Police noted the DWI’s negative effect on the department’s reputation.

See Removal Decision at 4. The arresting deputy knew Panarello worked for the Park Police and

contacted a Park Police manager to pick Panarello up that evening. See Removal Notice at 4;

Removal Decision at 4.

       Fear was “unaware of any other employees who ha[d] been disciplined for the same or

similar offenses.” Removal Decision at 4. But he stated that Panarello’s “misconduct [was]

serious enough to warrant removal, irrespective of similar cases.” Id.




8
   Panarello contends that her three-day suspension “had a connection to alcohol, but she was in
no way disciplined for an alcohol issue.” Pl.’s Statement at 28; see also Panarello Aff. ¶ 29. It is
unclear how this dispute helps Panarello here. Even if she is correct, the undisputed fact remains
that there was “alcohol involved” in the three-day suspension. Panarello Dep. Tr. 63:22–64:2.
And that the Park Police cited this “alcohol-related” infraction as a basis for its removal decision.
Removal Notice at 4; see also Removal Decision at 3. If Panarello challenges the Park Police’s
characterization of the discipline, that dispute is one of semantics, not fact. Cf. Fischbach, 86
F.3d at 1183 (“Once the employer has articulated a non-discriminatory explanation for its action
. . . the issue is not the correctness or desirability of [the] reasons offered . . . [but] whether the
employer honestly believes in the reasons it offers.” (cleaned up)).


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       Thus, the seriousness of a DWI, Panarello’s supervisory responsibilities, her two prior

infractions—including another involving alcohol, and the public nature of the DWI warranted

Panarello’s removal. The Park Police has identified a legitimate, nondiscriminatory, and non-

retaliatory reason for removing Panarello.

                                                 B.

       The burden now shifts to Panarello. She must “produce[] sufficient evidence for a

reasonable jury to find” that the DWI was not the “actual reason” for her removal. Brady, 520

F.3d at 494. To that end, Panarello can cite “better treatment of similarly situated employees,”

“inconsistent or dishonest explanations,” a “deviation from established procedures or criteria,” a

“pattern of poor treatment of other employees in the same protected group,” or “other relevant

evidence that a jury could reasonably conclude evinces an illicit motive.” Wheeler v.

Georgetown Univ. Hosp., 812 F.3d 1109, 1115 (D.C. Cir. 2016) (cleaned up).

       Panarello draws on a combination of these attacks. But it is not enough. The record,

even when viewed in the light most favorable to her, fails to show that the Park Police

intentionally discriminated or retaliated against Panarello.

                                                 1.

       “One way to discredit an employer’s justification is to show that similarly situated

employees . . . received more favorable treatment.” Royall v. Nat’l Ass’n of Letter Carriers,

AFL-CIO, 548 F.3d 137, 145 (D.C. Cir. 2008). Panarello tries that path here. She contends that

the Park Police treated her differently than male colleagues involved in alcohol-related offenses,

including DWIs. See Pl.’s Resp. at 30–32 (“The record is replete with evidence of other male

supervisors involved in DUIs, who were not involved with EEO activity, who received little, if

any discipline.”). The Court is unconvinced.




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        To rely on comparator evidence, Panarello must show that “she and the alleged

similarly-situated employee were charged with offenses of comparable seriousness, and that all

of the relevant aspects of [her] employment situation were nearly identical to those of the other

employee.” 9 Wheeler, 812 F.3d at 1115–16 (cleaned up). “Factors that bear on whether

someone is an appropriate comparator include the similarity of the plaintiff’s and the putative

comparator’s jobs and job duties, whether they were disciplined by the same supervisor, and, in

cases involving discipline, the similarity of their offenses.” Burley v. Nat’l Passenger Rail

Corp., 801 F.3d 290, 301 (D.C. Cir. 2015).

       Panarello identifies two Park Police officers guilty of DWIs who were not terminated.

One officer received a 30-day suspension for the DWI, which followed a suspension two years

earlier for being “drunk, in a bar, with his service weapon.” See Pl.’s Resp. at 32; id. Ex. 4

(“Disciplinary Records”) at 16–21, 58–62, ECF No. 36-8 (Sealed). Panarello claims another

officer received a two-day suspension for a DWI. 10 See Pl.’s Statement at 20; Disciplinary

Records at 11–15.

       Panarello also cites two other Park Police officers with DWIs, including one with two

DWIs in three years. See Pl.’s Statement at 19–22; Disciplinary Records at 7–10, 36–47, 56–




9
  The Court thus rejects as insufficient broad assertions that Panarello was treated differently
than other Park Police officers. See Pl.’s Resp. Ex. 2 ¶ 30, ECF No. 35-2 (Redacted) (“I am
familiar with many, many alcohol-related incidents involving both patrol officers and
supervisors.”); see also id. ¶¶ 39–40.
10
  Panarello offers no cite in the record to support the officer’s two-day suspension. Even so, the
Court assumes the officer did in fact receive this discipline.


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57. 11 It is unclear what discipline (if any) the Park Police imposed after the officer’s second

DWI and the other officer’s only DWI. 12 See Pl.’s Statement at 20, 22.

       Even if all four Park Police officers were not removed for their DWIs, these comparators

are not “nearly identical” to Panarello for three reasons.

       First, Panarello does not establish that any of these officers has the same disciplinary

record as her. Accord Gulley v. District of Columbia, 474 F. Supp. 3d 154, 167 (D.D.C. 2020)

(“None of his comparators has a disciplinary record as extensive as his.”). She identifies no

comparator that had more than one prior infraction at the time of the DWI. See Pl.’s Resp. at 32;

Pl.’s Statement at 21–22. Panarello did. See Panarello Aff. ¶ 50; Panarello, 254 F. Supp. 3d at

91–92. This distinction is significant. The Park Police uses a progressive discipline system:

more prior infractions lead to more severe penalties. See Table of Penalties (reflecting

increasing penalties after first, second, and third offense); Smith Dep. Tr. 65:18–66:4 (describing

decision based on progressive discipline). Indeed, the Park Police cited Panarello’s two other

violations to justify her removal. See Removal Notice at 4; Removal Decision at 3.

       Second, none of these officers held supervisory roles at the time of their DWIs. See, e.g.,

Disciplinary Records at 7–15, 16–21, 56–57 (listing individual as an “officer,” not a sergeant,

lieutenant, major, or captain); id. at 43, 59 (“You are a permanent full-time employee and have

no supervisory role.”). Panarello did. And the Park Police cited Panarello’s managerial




11
   Panarello refers to an “Employee 6” in her opposition, Pl.’s Resp. at 31, but no Employee 6 is
referenced elsewhere. The Court construes Employee 6 to be the “Officer 3” listed in
Panarello’s response to the Secretary’s proposed facts. See Pl.’s Statement of Facts at 21–22.
12
   Panarello claims that the Park Police represented that the officer with two DWIs was
terminated after the second one, but that she could not find support for this fact in its disclosures.
Pl.’s Statement at 22. The Court construes this ambiguity in favor of Panarello and assumes the
officer was not terminated after the second DWI.


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responsibilities as a basis for its removal decision. Captain Rogers explained that Panarello was

“held to a higher standard of conduct” as a supervisor and was “responsible for setting an

example for subordinate officers to follow.” Removal Notice at 3. Deputy Chief Fear noted

that, as a “managerial police officer,” Panarello was “responsible for providing guidance, advice,

and assistance to subordinate officers when they encounter situations similar to [her] instance of

misconduct.” Removal Decision at 3; see also Pl.’s Resp. Ex. 1 (“Rogers Dep. Tr.”) 31:3–5,

ECF No. 36-5 (Sealed) (“An officer would be treated different from a lieutenant because the

expectations are different.”).

        Third, “it is far from clear that these comparators were disciplined by the same

supervisor” as Panarello. Gulley, 474 F. Supp. 3d at 167 (cleaned up). Captain Rogers helped

draft the Removal Notice, and Deputy Chief Fear signed the Removal Decision. See Rogers

Dep. Tr. 26:7–9; Pl.’s Statement ¶ 51. Panarello has not shown that either participated in the

discipline for these other DWIs. See Disciplinary Records. Indeed, at least some of these

comparators were disciplined by other supervisors. See id. at 16, 36, 58. That different

supervisors imposed different discipline on different officers undermines Panarello’s theory of

disparate treatment. 13




13
   Lee Gaither—a retired Park Police lieutenant—alludes to two other individuals who had a
DWI, including an individual “whom I believe was a major” and another that was “either a
sergeant or a lieutenant.” See Pl.’s Resp. Ex. 2 ¶¶ 2, 36–37, ECF No. 35-2 (Redacted).
Panarello also refers by name to a captain “involved in a DUI accident in New York.” Panarello
Aff. ¶ 88. But Panarello has not “presented other evidence relevant to the comparability inquiry”
for these three individuals. Long v. Endocrine Soc’y, 263 F. Supp. 3d 275, 285 (D.D.C. 2017).
Did any have a prior infraction (let alone two) at the time of the DWIs? Did either Captain
Rogers or Deputy Chief Fear participate in the discipline decisions? Without more information,
the Court cannot conclude that these individuals are “nearly identical” to Panarello. See Gulley,
474 F. Supp. 3d at 167 (finding plaintiff failed to carry his burden of proof when there were
“significant gaps in his comparator evidence.”).


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       Each of these differences sinks Panarello’s efforts to show that these officers were

similarly situated but treated more favorably for a DWI than her.

       Panarello also cites other evidence of alleged disparate treatment. She claims that

supervisors “covered” for subordinates who were arrested. Pl.’s Resp. at 31; see also Pl.’s Resp.

Ex. 2 (“Gaither Aff.”) ¶ 48, ECF No. 35-2 (Redacted). And that a lieutenant brought a case of

beer to the Park Police’s operation facility “with the intention to share it with his subordinates

after their shift.” Pl.’s Statement at 19; see also Disciplinary Records at 1–6.

       But again, Panarello offers no evidence that these officers share “nearly identical”

circumstances to her—e.g., two prior infractions, supervisory responsibilities, and the same

deciding officials involved. Nor is it clear that these incidents are as serious as driving while

intoxicated. So this comparator evidence also falls short. See Burley, 801 F.3d at 302 (“The

other comparator evidence also fails to defeat [defendant’s] summary judgment motion because

[plaintiff] is unable to demonstrate either that other white employees were found to have

committed offenses of comparable seriousness, or that they were differently disciplined by the

same supervisors who disciplined [plaintiff].”).

       Panarello also suggests that the Park Police “has offered little in the way of factual

comparisons to other similarly-situated employees” to support her removal. Pl.’s Resp. at 24.

But that burden lies with Panarello, not the Park Police. Gulley, 474 F. Supp. 3d at 167

(“[Plaintiff] has the burden to prove his comparators were similarly situated.”). The Park Police

did not rely on similarly situated employees to justify Panarello’s removal. Deputy Chief Fear

noted that Panarello’s “misconduct [was] serious enough to warrant removal, irrespective of

similar cases.” Removal Decision at 4 (emphasis added). It is unclear then how any failure by

the Park Police to identify comparators is relevant evidence of discrimination or retaliation here.




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       In any event, Panarello does not dispute that the Park Police has removed at least some

officers for DWI incidents. See Pl.’s Statement ¶¶ 87–88. More, the Park Police allowed

Panarello to retire and receive annuity benefits earlier than its rules otherwise allow. See id.

¶¶ 63–64; Panarello Dep. Tr. 158:12–16; Def.’s Mem. at 38–39. 14 Although not dispositive, this

contrary evidence also undermines Panarello’s claim of disparate treatment. See Aka v. Wash.

Hosp. Ctr., 156 F.3d 1284, 1289 (D.C. Cir. 1998) (en banc) (allowing courts to consider “any

contrary evidence that may be available to the employer”).

       In sum, Panarello fails to identify a similarly situated Park Police officer who received

more favorable treatment for a DWI (or a comparable, serious offense). This failure is enough

for the Court to grant the Secretary’s motion. See Walker v. McCarthy, 170 F. Supp. 3d 94, 108

(D.D.C. 2016) (“At the summary judgment stage . . . where a plaintiff relying on comparator

evidence fails to produce evidence that the comparators were actually similarly situated to him,

an inference of falsity or discrimination is not reasonable, and summary judgment is

appropriate.” (cleaned up)). Panarello’s other evidence, however, also does not allow her claims

to survive summary judgment.




14
    Panarello testified that she retired and receives benefits. See Panarello Dep. Tr. 154:17–20;
id. 158:12–16. But she objects to the Secretary’s proposed fact of her retirement as “inaccurate
and misleading” because she “submitted her retirement paperwork, but still experienced delays
in processing” and “attempted interference with her retirement.” Pl.’s Statement ¶ 64. Panarello
does not offer any support for this proposition, as she must. See LCvR 7(h)(1) (requiring
“references to the parts of the record relied on” to show a “genuine issue necessary to be
litigated”). Nor is it clear how this objection creates a genuine dispute about whether she retired
or receives payments. One can experience delays and attempted interference, but still retire.
Relying on her deposition testimony then, the Court treats Panarello’s retirement and receipt of
payments as undisputed.


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                                                  2.

       Panarello points to the last chance agreement that the Park Police offered her. Pl.’s Resp.

at 28–30. To Panarello, this agreement shows that the Park Police used her removal as “leverage

to press her to dismiss” Panarello I. Id. at 28. And thus Panarello I “drove the [Park Police’s]

choice to terminate her.” Id. at 28. The Court disagrees.

       The Park Police—like other government agencies—offers departing employees a last

chance agreement “from time to time.” Rogers Dep. Tr. 38:3–4; see Payton-Williams Dep. Tr.

86:1–8 (testifying that the Park Police offered between five to ten last chance agreements during

her career). And “[a]gencies often condition last chance agreements upon the employee’s waiver

of rights to challenge the adverse action decision, as initially made or eventually executed.” See

U.S. Dep’t of Air Force v. Fed. Lab. Rels. Auth., 949 F.2d 475, 478 (D.C. Cir. 1991). Indeed,

employers can use breaches of these agreements to terminate an employee. See Knight v. Mabus,

134 F. Supp. 3d 348, 358 (D.D.C. 2015) (“Defendant points to ample support in the record for its

legitimate non-discriminatory reason to remove [plaintiff] from federal service—that [plaintiff]

breached the [last chance agreement], which had merely held his removal in abeyance.”). A last

chance agreement thus is not per se evidence of retaliation. Accord Ramey v. Potomac Elec.

Power Co., 468 F. Supp. 2d 51, 59 n.11 (D.D.C. 2006) (“[O]ffers of compromise or settlement

are not probative of discriminatory or retaliatory intent.”).

       More, Panarello establishes no causal link between her last chance agreement and

removal. The Park Police reached the decision to remove Panarello before offering her the last

chance agreement. See Payton-Williams Dep. Tr. 94:8–20 (testifying that the conversation with

Panarello about the last chance agreement took place after Panarello received the Removal

Decision). That is how these agreements work. They hold a termination in abeyance “to give




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the affected employee an opportunity to prove that he or she is worthy of the [Park Police]

keeping them as opposed to remov[ing] them.” Id. 85:10–13. The removal decision is “taken

away” after the employee complies with the terms of the agreement for a period. Id. 85:15–20.

Since the Park Police had already decided to remove Panarello at the time of the last chance

agreement offer, her rejection changed nothing.

       Simply put, the Park Police’s offer of a last chance agreement is not evidence of

discrimination or retaliation against Panarello.

                                                   3.

       As with Panarello I, Panarello also suggests her removal was retaliation for the Sabate

lawsuit. See Pl.’s Resp. at 30. She contends that her “termination was not a random event,” but

a “culmination of years of [her] being held back from training, career building assignments, and

promotions.” Id.

       But Panarello I already rejected a similar theory. As Judge Moss explained, Panarello

“point[ed] to no evidence that sex discrimination motivated the Park Police’s action,” and she

“fail[ed] to offer any evidence that the proposed termination was part of a pattern of retaliation

against her.” See Panarello I, 254 F. Supp. 3d at 107. Panarello offers nothing new here for the

Court to reach a different conclusion.

       Panarello provides no evidence connecting the Sabate lawsuit with her removal. There is

no suggestion, for example, that the decisionmakers in place during Sabate are still in office

now, let alone that they somehow orchestrated Panarello’s termination. Instead, Panarello relies

on a generalized depiction of the Park Police as a “good ol’ boys club” in which male officers

“did not face the same harsh discipline.” Pl.’s Resp. at 30 (cleaned up); see also Gaither Aff.

¶¶ 27–30. But allowing such allegations at this stage “would defeat the central purpose of the




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summary judgment device, which is to weed out those cases insufficiently meritorious to warrant

the expense of a jury trial.” See Greene v. Dalton, 164 F.3d 671, 675 (D.C. Cir. 1999).

       Panarello’s theory also confronts a timing issue. “The temporal proximity between an

employee’s protected activity and her employer’s adverse action is a common and often

probative form of evidence of retaliation.” Walker, 798 F.3d at 1092. The D.C. Circuit “has

often analyzed temporal proximity in terms of months—not years.” Pueschel v. Chao, 955 F.3d

163, 167 (D.C. Cir. 2020) (citing cases). At the time of Panarello’s removal, more than fifteen

years had passed since the Sabate lawsuit. See Compl., Sabate v. Babbitt, No. 98-cv-00929-RCL

(D.D.C. Apr. 14, 1998), ECF No. 1. This gap in time militates against any inference that the

removal was connected to the Sabate lawsuit. Cf. Pueschel, 955 F.3d at 167 (affirming dismissal

of retaliation claim where fifteen years had elapsed between the EEO complaints and the adverse

employment action). The same reasoning applies to Panarello’s retaliation theory based on

Panarello I, which happened four years before her removal. See Compl., Panarello v. Zinke,

Case No. 1:12-cv-01966-RDM (D.D.C. Dec. 7, 2012); see also Def.’s Reply at 18.

       Once again, Panarello “rest[s] on a theory of retaliation without evidentiary support.”

Panarello II, 788 F. App’x at 20.

                                                 4.

       Panarello next cites a “culture of discrimination and reprisal” within the National Park

Service and Park Police. Pl.’s Resp. at 33. She contends that both “have a documented history

of discriminating against women and retaliating against the women, who report the

discrimination,” and that this history repeated itself with Panarello. Id. at 9–12. Not so.

       Allegations of isolated, discriminatory incidents at far flung parks around the country are

unpersuasive here. See id. at 11–12. The Park Police is an agency of the National Park Service.




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But the Park Police has its own chief and supervisory hierarchy separate from the National Park

Service. 15 And Panarello focuses her claims only on the conduct and personnel within the Park

Police. See, e.g., Compl. ¶ 17 (“Since 2009 and continuing to her termination Ms. Panarello

sustained disparate treatment from the National Park Police regarding training opportunities and

promotions within her agency.”). She does not identify any policy or person outside the

organization involved in her removal. So any “culture of discrimination and reprisal” at the

National Park Service does not save Panarello’s claims.

       Panarello also tries to paint a picture of a “workplace culture permeated with favoritism

and retaliation” within the Park Police. Pl.’s Resp. at 33–35; see also id. at 12–13. She cites an

allegation of “sexual misconduct” against Deputy Chief Fear. See id. at 34. She claims an

officer feared possible retaliation by members of his unit if he reported alcohol in a Park Police

facility. Disciplinary Records at 4. She repeats her depiction of the Park Police as a “good ol’

boys club.” See Pl.’s Resp. at 34 (citing Gaither Aff. ¶¶ 27–29). And she notes that Captain

Rogers—who proposed her removal—filed an EEO complaint against the Park Police alleging

race discrimination and retaliation. See id. To Panarello, these other acts show the Park Police’s

motive or intent against her. Id. at 33.

       But such broad strokes are not enough. Greene, 164 F.3d at 675. As with her

comparator evidence, Panarello fails to show how these incidents share circumstances similar to

her removal. The Court cannot infer a pattern of “favoritism and retaliation” based only on

isolated examples of others raising (at most) allegations against the Park Police.




15
   The organizational structure for the National Park Service and Park Police is publicly
available at https://www.nps.gov/subjects/uspp/office-of-the-chief.htm.


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                                                 5.

       Finally, Panarello invites the Court to deny summary judgment because the Park Police

failed to retain a recording of the oral presentation that she made in response to her removal. See

Pl.’s Resp. at 26–27. The Court declines to do so.

       Panarello invokes the spoliation principle established in Gerlich v. United States

Department of Justice, 711 F.3d 161 (D.C. Cir. 2013). There, the D.C. Circuit adopted a rule

that “a negative inference may be justified where the defendant has destroyed potentially

relevant evidence” if “future litigation was reasonably foreseeable to the party who destroyed

relevant records” and the “destroyed records were likely relevant to the contested issue.” Id. at

170–71. It then imposed a negative inference because the employer failed to retain certain

records, which made it “more difficult” for some plaintiffs to establish their case and the

“relevance of that evidence to the disputed issue of material fact.” Id. at 169, 172.

       Not so here. For starters, Panarello offers no evidence that there was a recording of her

oral presentation at all. Panarello assumes that there was. See Panarello Aff. ¶ 87; Pl.’s

Statement ¶ 47. But the evidence suggests that the Park Police’s practice of recording these oral

responses was inconsistent at best. See Rogers Dep. Tr. 73:19–74:9 (testifying that he did not

think oral responses were recorded); Payton-Williams Dep. Tr. 82:9–15, 83:11–13 (testifying

that not all oral responses are recorded and that she did not recall whether Panarello’s oral

response was recorded). The Court declines to impose a negative inference if nothing was

destroyed.

        Even if the Park Police did record her oral response, Panarello fails to explain how

destroying that recording warrants an inference to preclude summary judgment here. Panarello

contends that, during the oral response, her attorney identified examples of “white, male




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officers” that the Park Police treated differently than her. Pl.’s Resp. at 26. And that the Park

Police’s “refusal to acknowledge those examples vitiates [Deputy Chief] Fear’s opinion that Ms.

Panarello, as supervisor, was held to a higher standard than officers.” Id. at 27.

       Perhaps. But all this evidence is already before the Court. The Park Police does not

dispute that Panarello identified comparators in response to her removal. Pl.’s Statement ¶ 48

(“In her response, Panarello argued that the discipline was improper because she believed it

exceeded penalties for other officers.”). And Panarello could identify purported comparators

using the Park Police’s own disciplinary records. See Pl.’s Resp. at 30–32; Disciplinary Records.

She also attests to how the Park Police reacted to her comparators during the oral response. See

Panarello Aff. ¶ 87 (attesting that Deputy Chief Fear disputed her examples as “rumor”); id. ¶ 88

(attesting that Deputy Chief Fear denied that a Park Police captain was “involved in a DUI

accident in New York” for which he was not disciplined). If the recording were to exist, it would

not advance Panarello’s claims. Its absence does not make it harder for Panarello to prove her

claims or resolve a disputed, material fact. See Gerlich, 711 F.3d at 169, 172.

       More, the spoliation principle in Gerlich protects against destroying records uniquely in

the possession of the employer. Id. at 171 (describing records as containing the employer’s

“annotations highlighting reasons for ‘deselection’ and the accompanying internet printouts

attached to support a particular ‘deselection’ decision”). That is not the case here. Panarello and

her attorney had the same—if not more—opportunity and motivation to record the remarks made

during the oral response, including how the Park Police reacted to the proposed comparators.

Since both Panarello and the Park Police had an equal chance to create and retain the record

allegedly destroyed, an inference against the Secretary is inappropriate here.




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       At bottom, the Court cannot infer retaliatory or discriminatory intent for destroying a

recording that either never existed or would not offer new evidence to support Panarello’s

claims. See Burley, 801 F.3d at 300 n.2 (rejecting spoliation inference for potential destruction

of videotape where plaintiff failed to show that the tape existed or that failure to review it was

obvious error to support a finding of discrimination). 16

                                          *       *         *

       In sum, Panarello has not produced sufficient evidence for a reasonable jury to find that

the DWI was not the actual reason for her removal. The Court will grant the Secretary’s motion

for summary judgment on the retaliation and discrimination claims.

                                                 C.

       One final issue remains. Panarello alleges in passing that her treatment “constituted a

discriminatory, hostile work environment . . . in violation of her rights under federal law.”

Compl. ¶ 18. Construing this allegation liberally, the Secretary seeks summary judgment on any

hostile work environment claim that Panarello tries to raise. See Def. Mem. at 41–45. It argues

that Panarello did not exhaust her administrative remedies on this claim and, in any event, no

evidence supports a hostile work environment. Id. at 41. The Court need not reach the merits of

these arguments.

       In this district, “if a party files an opposition to a motion and therein addresses only some

of the movant’s arguments, the court may treat the unaddressed arguments as conceded.”

Wannall v. Honeywell, Inc., 775 F.3d 425, 428 (D.C. Cir. 2014).


16
   If Panarello tries to rely on the Park Police’s failure to retain any notes taken during the oral
response, see Pl.’s Resp. at 27, that theory fails for the same reasons discussed. Panarello does
not identify what information in these notes would further support her retaliation or
discrimination claims or resolve a genuine dispute of material fact. See Gerlich, 711 F.3d at 169,
172.


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       For her part, Panarello makes no effort to respond to the Secretary’s exhaustion

argument. See Def.’s Reply at 22. She argues only that the “record shows that [she] was

constructively discharged and subjected to a hostile work environment.” See Pl.’s Resp. at 25

(cleaned up). 17 But that puts the cart before the horse. Panarello is silent on how she exhausted

her administrative remedies to allow her to now raise a hostile work environment claim here.

She thus concedes the issue. See Wannall, 775 F.3d at 428; see also LCvR 7(b).

       This concession is fatal. Since Panarello fails to show how she exhausted her

administrative remedies, the Secretary is entitled to summary judgment on any hostile work

environment claim that Panarello sought to raise in her complaint. Accord Burke v. Inter-Con

Sec. Sys., Inc., 926 F. Supp. 2d 352, 356 (D.D.C. 2013) (finding defendant’s arguments on

hostile work environment claim conceded where plaintiff “initially alleged that he was the victim

of . . . a hostile work environment, but he failed to oppose the defendant’s motion for summary

judgment” on this claim in his opposition and sur-reply).

                                                 IV.

       For all these reasons, Defendant’s motion for summary judgment will be granted. A

separate Order will issue.
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Dated: January 11, 2021                                TREVOR N. McFADDEN, U.S.D.J.




17
   Citing Panarello’s passing reference of “constructive discharge,” the Secretary also argues
that Panarello failed to exhaust her administrative remedies for this claim as well. See Def.’s
Reply at 23 n.7. The Court need not consider this argument. The complaint alleges no
constructive discharge claim. And Panarello cannot raise new causes of action in her opposition
brief. See Jo v. District of Columbia, 582 F. Supp. 2d 51, 64 (D.D.C. 2008) (“It is well-
established in this district that a plaintiff cannot amend his Complaint in an opposition to a
defendant’s motion for summary judgment.”). Panarello thus did not properly raise a
constructive discharge cause of action.


                                                25
